Mod AO 442 (09/13) Arrest Warrant    AUSA Name & Telno: Robert L. Boone, Tel: 212-637-2208


                                        UNITED STATES DISTRICT COURT
                                                                  for the
                                                   Southern District of New York

                  United States of America
                             v.                                     )
                        Jeffrey Hastings                            )        Case No.    20 MAG 9706
                                                                    )
                                                                    )
                                                                    )
                                                                    )
                            Defendant


                                                       ARREST WARRANT
To:      Any authorized law enforcement officer

         YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)     Jeffrey Hastings                                                                                     ,
who is accused of an offense or violation based on the following document filed with the court:

’ Indictment             ’ Superseding Indictment          ’ Information        ’ Superseding Information             ’ Complaint
’ Probation Violation Petition              ’ Supervised Release Violation Petition       ’ Violation Notice          ’ Order of the Court

This offense is briefly described as follows:

   Violations of 15 U.S.C. §§ 78j(b) & 78ff; 17 C.F.R. § 240.10b-5;
   18 U.S.C. §§ 371, 1343, 1349 and 2.




Date:         09/11/2020
                                                                                           Issuing officer’s signature

City and state:       New York, NY                                                      Hon. Debra Freeman, USMJ
                                                                                             Printed name and title


                                                                  Return

           This warrant was received on (date)                          , and the person was arrested on (date)
at (city and state)                                           .

Date:
                                                                                          Arresting officer’s signature



                                                                                             Printed name and title


                        Case 3:20-mj-00459-MMS Document 1-1 Filed 09/14/20 Page 1 of 1
